                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                  AT KNOXVILLE



 UNITED STATES OF AMERICA                          )
                                                   )
 v.                                                )      No. 3:14-CR-002
                                                   )
 TROY R. EADS                                      )

                             MEMORANDUM AND ORDER

               The defendant pled guilty to conspiring to manufacture methamphetamine.

 He will be sentenced on August 26, 2014. The United States Probation Office has

 prepared and disclosed a Presentence Investigation Report (“PSR”) to which the

 defendant has filed objections. For the reasons that follow, those objections will be

 overruled.

                                              I.

                                First and Second Objections

               The defendant argues that he should not be assigned four criminal history

 points at paragraphs 56 and 57 of his PSR. Those points stem from prior state court

 sentences relating to the manufacture of methamphetamine.

               This court must initially note that the defendant’s first and second

 objections are so vague and undeveloped that they should be deemed waived. “It is not

 sufficient for a party to mention a possible argument in the most skeletal way, leaving the

 court to ... put flesh on its bones.” United States v. Cole, 359 F.3d 420, 428 n.13 (6th Cir.

 2004) (citation omitted).



Case 3:14-cr-00002-KAC-DCP         Document 630        Filed 08/19/14   Page 1 of 5    PageID
                                         #: 2387
               With that said, it appears the defendant objects to the four criminal history

 points either due to the date of imposition of the prior state sentences or because he

 claims those crimes are relevant conduct to the instant federal offense. Neither theory

 has merit.

                                  A. State Court Offenses

               At paragraph 56 of the PSR, the defendant is assigned one criminal history

 point for a May 9, 2013 sentence imposed by the General Sessions Court of Claiborne

 County, Tennessee.     The defendant pled guilty to possession of items used in the

 manufacture of methamphetamine (Drano, lithium batteries, and carburetor cleaner). At

 paragraph 57 of the PSR, the defendant is assigned three criminal history points for a

 January 21, 2014 sentence imposed by the Criminal Court of Claiborne County,

 Tennessee. The defendant pled guilty to the sale, purchase, acquisition, or delivery of

 methamphetamine manufacture precursors.

                               B. The Instant Federal Offense

               At paragraphs 26 through 37, the PSR sets forth an Offense Conduct

 narrative regarding the instant federal offense. Paragraphs 27 through 35 are taken

 verbatim from the defendant’s plea agreement. The defendant has raised no objection to

 paragraphs 26 through 37. As such, the contents of those paragraphs are conclusively

 accepted by this court as findings of fact. See Fed. R. Crim. P. 32(i)(3)(A).

               In this conspiracy case, codefendants John Ayers, Gary Valentine, and

 Victor Lynn imported large quantities of already-manufactured methamphetamine from

 Georgia. [PSR ¶ 36]. “Once the methamphetamine was transported back to Tennessee,

                                              2

Case 3:14-cr-00002-KAC-DCP        Document 630       Filed 08/19/14    Page 2 of 5   PageID
                                        #: 2388
 Ayers, Valentine, and Lynn would distribute the methamphetamine to other members of

 the conspiracy for further distribution.” [PSR ¶ 36]. The defendant participated in the

 conspiracy from January 2013 through January 2014.            [PSR ¶ 27].     The defendant

 obtained methamphetamine from Lynn, which the defendant would then distribute to his

 own customers. [PSR ¶¶ 28-34].

                                         C. Analysis

               As noted above, the defendant appears to object to the receipt of criminal

 history points for the state offenses listed at paragraphs 56 and 57 either due to the date of

 imposition of the sentences or because he claims those crimes are relevant conduct to the

 instant federal offense. At paragraph 56, the defendant is assigned one criminal history

 point for a “prior sentence.” See U.S. Sentencing Guidelines Manual § 4A1.1(c) (2013).

 At paragraph 57, the defendant is assigned three criminal history points for a “prior

 sentence of imprisonment exceeding one year and one month.” See id. § 4A1.1(a).

               “The term ‘prior sentence’ means any sentence previously imposed upon

 adjudication of guilt, whether by guilty plea, trial, or plea of nolo contendere, for conduct

 not part of the instant offense.” Id. § 4A1.2(a)(1) (emphasis in original).

        “Prior sentence” means a sentence imposed prior to sentencing on the
        instant offense, other than a sentence for conduct that is part of the instant
        offense. . . . A sentence imposed after the defendant’s commencement of
        the instant offense, but prior to sentencing on the instant offense, is a prior
        sentence if it was for conduct other than conduct that was part of the instant
        offense. Conduct that is part of the instant offense means conduct that is
        relevant conduct to the instant offense under the provisions of § 1B1.3
        (Relevant Conduct).




                                               3

Case 3:14-cr-00002-KAC-DCP         Document 630        Filed 08/19/14    Page 3 of 5      PageID
                                         #: 2389
 Id. § 4A1.2 cmt. n. 1. “Relevant conduct” includes all willful acts and omissions of the

 defendant, along with conconspirators’ reasonably foreseeable acts and omissions in

 furtherance of the conspiracy, “that occurred during the commission of the offense of

 conviction, in preparation for that offense, or in the course of attempting to avoid

 detection or responsibility for that offense[.]” Id. § 1B1.3(a)(1).

               Turning first to the defendant’s possible argument that the state sentences at

 paragraphs 56 and 57 should not receive criminal history points due to the date that they

 were imposed, both state sentences were in fact imposed prior to the upcoming August

 26, 2014 sentencing date in this federal case. As such, they are properly deemed “prior

 sentences” and are properly included in the criminal history calculation. Again, “‘[p]rior

 sentence’ means a sentence imposed prior to sentencing on the instant offense . . . .” Id. §

 4A1.2 cmt. n. 1; accord United States v. Tilford, 85 F. App’x 516, 520 (6th Cir. 2004).

               As for the defendant’s possible argument that paragraphs 56 and 57 should

 not be counted because they involve conduct relevant to the instant offense, the court

 disagrees.   The state offenses involved the manufacture of methamphetamine.            The

 present federal case, by the defendant’s own admission, pertains to his distribution of

 already-manufactured methamphetamine imported from out of state. The defendant’s

 state conduct therefore does not meet the definition of “relevant conduct” cited above.

 There is no indication (or argument) that the defendant’s state manufacturing conduct had

 anything to do with his federal case.              While all of these cases involved

 methamphetamine, that single fact is not enough. The defendant’s first and second

 objections will accordingly be overruled.

                                               4

Case 3:14-cr-00002-KAC-DCP         Document 630       Filed 08/19/14   Page 4 of 5    PageID
                                         #: 2390
                                           II.

                                     Third Objection

              Lastly, the defendant objects that his offense level should be decreased by

 two due to a proposed amendment to the Sentencing Guidelines. Because this court

 “shall use the Guidelines Manual in effect on the date that the defendant is sentenced,”

 see U.S. Sentencing Guidelines Manual § 1B1.11(a) (2013), the probation officer was

 correct in applying the current version of the guidelines rather than a potential

 amendment that has not yet been enacted. This “objection” is in fact a variance argument

 that the court will address at sentencing. As an objection, the defendant’s request must

 be denied.

                                           III.

                                       Conclusion

              For the reasons provided herein, the defendant’s objections to his PSR are

 OVERRULED in their entirety. Sentencing remains set for August 26, 2014, at 10:30

 a.m. in Knoxville.

              IT IS SO ORDERED.

                                                       ENTER:



                                                               s/ Leon Jordan
                                                         United States District Judge




                                            5

Case 3:14-cr-00002-KAC-DCP       Document 630       Filed 08/19/14   Page 5 of 5    PageID
                                       #: 2391
